Case 2:17-bk-12185-VZ       Doc 52 Filed 12/24/18 Entered 12/24/18 10:59:49             Desc
                             Main Document    Page 1 of 2


  1   LAW OFFICE OF TATE C. CASEY
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      Capistrano Beach, California 92624
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      bkcenter@aol.com
  4
      Attorney for Debtor
  5
  6
  7
                              UNITED STATES BANKRUPTCY COURT
  8
               CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION
  9
 10
                                                |           Case No. 2:17-bk-12185-VZ
 11                                             |
      In Re:                                    |           CHAPTER 13
 12                                             |
                                                |           OPPOSITION TO TRUSTEE’S
 13   STEWART, YVONNE G                         |           MOTION TO DISMISS
                                                |
 14                                             |           Hearing Date: 01/07/2019
                                                |           Time:        10:30 am
 15                                             |           Courtroom: 1368
                                    Debtor(s). |
 16   __________________________________________|
 17
 18      NOTICE IS HEREBY GIVEN that YVONNE G STEWART, debtor, hereby opposes the
 19   Motion to Dismiss Chapter 13 Case. Debtor intends to have the outstanding issues outlined in
 20   Trustee’s Motion to Dismiss resolved by the hearing date.
 21
 22   The Trustee’s Notice of Motion to Dismiss was served on October 3, 2018 (Doc # 50)
 23
 24   Dated: December 24, 2018                                     /s/ Tate C. Casey
                                                                    Tate C. Casey
 25                                                               Attorney for Debtor
 26
 27
 28
            Case 2:17-bk-12185-VZ                        Doc 52 Filed 12/24/18 Entered 12/24/18 10:59:49                                                        Desc
                                                          Main Document    Page 2 of 2

 In re:                                                                                                                           CHAPTER: 13
            Yvonne G Stewart
                                                                                                                Debtor(s).        CASE NUMBER: 2:17-bk-12185-VZ


                                                   PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
26872 Calle Hermosa
Capistrano Beach, CA 92624

A true and correct copy of the foregoing document entitled (specify): OPPOSITION TO TRUSTEE’S
MOTION TO DISMISS will be served or was served (a) on the judge in chambers in the form and manner required by LBR
5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General Orders and LBR,
the foregoing document will be served by the court via NEF and hyperlink to the document. On 02/16/2018 , I checked the CM/ECF
docket for this bankruptcy case or adversary proceeding and determined that the following persons are on the Electronic Mail Notice
List to receive NEF transmission at the email addresses stated below:

    ·       Nancy K Curry (TR) TrusteeECFMail@gmail.com

    ·       Erin A Maloney EMaloney@fiorelaw.com / John Rafferty john.rafferty@bonialpc.com

    ·       United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov

    ·       Gilbert R Yabes ecfcacb@aldridgepite.com, GRY@ecf.inforuptcy.com;gyabes@aldridgepite.com

    ·       Robert P Zahradka ecfcacb@aldridgepite.com, RPZ@ecf.inforuptcy.com

                                                                                                       Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On 12/24/2018 I served the following persons and/or entities at the last known addresses in this bankruptcy case or adversary
proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours
after the document is filed.

Honorable Vincent P. Zurzolo
United States Bankruptcy Court
Central District of California
255 E. Temple Street, Suite 1360 / Courtroom 1368
Los Angeles, CA 90012

                                                                                                       Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for each
person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on       , I served the following persons and/or entities by
personal delivery, overnight mail service, or (for those who consented in writing to such service method), by facsimile transmission
and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
completed no later than 24 hours after the document is filed.


                                                                                                       Service information continued on attached page

I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.
12/24/2018                   Tate C. Casey 295294                                                         /s/ Tate C. Casey
Date                         Printed Name                                                                 Signature


                           This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                                                                     9013-3.1.PROOF.SERVICE
